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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
              v.                          ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )


                                  NOTICE OF DISCLOSURE

       I wish to advise the parties in these consolidated actions of an issue about which I recently

became aware concerning my and my wife’s financial holdings. Canon 3C(1)(c) of the Code of

Judicial Conduct requires a judge to disqualify himself in a proceeding when the judge knows that

he “has a financial interest in the subject matter in controversy or in a party to the proceeding,” or

when the judge has “any other interest that could be affected substantially by the outcome of the

proceeding.” See also 28 U.S.C. § 455(b)(4). The Code also states that “ownership in a mutual

or common investment fund that holds securities is not a ‘financial interest’ in such securities

unless the judge participates in the management of the fund.” Canon 3C(3)(c)(i). According to
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the Committee on Codes of Conduct, Advisory Opinion No. 106, these Canon provisions, “read

together, provide that investments in a mutual fund will normally avoid triggering recusal concerns

with respect to the securities that the fund holds, with some exceptions discussed” in the opinion.

        Following a similar order issued recently by another District Court judge, 1 I inquired of

my financial advisor whether any of the mutual funds in which my wife and I are invested, either

separately or jointly, hold stock of Alphabet, Inc., the parent company of Defendant Google LLC.

I learned that some of our mutual fund holdings do contain two different classes of Alphabet

stock. 2 These mutual fund purchases were made between April 2020 and January 2021. This

timing arose due, in part, to a recent change we made in financial advisors and the rollover of our

respective retirement accounts. Neither my wife nor I directed the purchase of these particular

funds; they were recommended to us, and we consented to their purchase. Nor did we know at the

time that these funds contained Alphabet stock. We also do not participate in the management of

any mutual or common investment fund.

        In light of the “safe harbor” that Canon 3C(3)(c)(i) creates for judges’ holdings of mutual

funds, and the guidance provided by Advisory Opinion No. 106, I do not believe that my recusal

is required in this matter. Nevertheless, to avoid any appearance of partiality or a financial interest

in the outcome of this matter, I have directed our financial advisor to immediately sell all mutual

funds that hold Alphabet stock and to monitor all future purchases of mutual or common

investment funds during the pendency of this case to ensure that none contain Alphabet stock. I

also will on a quarterly basis ask for disclosure of all investment fund holdings to confirm that

they do not include Alphabet stock.


1
  See Order of Disclosure, Nat’l Ass’n of Mfrs. v. U.S. Dep’t of Homeland Sec’y, No. 20-cv-04887-JSW (N.D. Cal.),
ECF No. 115.
2
  I also learned that these funds contain the stock of non-parties Amazon Inc., Apple Inc., Comcast Corporation, and
Microsoft Corporation.

                                                         2
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       If any party objects to my continuing to preside over this matter, it shall file such objection

by no later than January 20, 2021.




Dated: January 8, 2021                                       Amit P. Mehta
                                                      United States District Court Judge




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